        Case 1:21-cv-11558-LTS Document 241 Filed 09/23/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                  )
UNITED STATES OF AMERICA, et al.                  )
                                                  )
                     Plaintiffs,                  )
                                                  )
       v.                                         )       Case No. 1:21-cv-11558-LTS
                                                  )
AMERICAN AIRLINES GROUP INC. and                  )
JETBLUE AIRWAYS CORPORATION                       )
                                                  )
                     Defendants.                  )
                                                  )

                                   NOTICE OF APPEARANCE

       Please enter the appearance of Bonny E. Sweeney as counsel for the United States of

America in the above-captioned matter.

                                           Respectfully submitted,


Dated: September 23, 2022                  /s/Bonny E. Sweeney
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